        Case 4:24-cv-02183-MWB            Document 1       Filed 12/18/24      Page 1 of 7




                           UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF PENNSYLVANIA


 Nick Vedros,

                        Plaintiff,
                                                        Case No:
                 v.
                                                        COMPLAINT
 The Sterling Group of The Twin Tiers,
 Inc.,                                                  DEMAND FOR JURY TRIAL

                        Defendant.



                                          COMPLAINT
       Plaintiff Nick Vedros (“Plaintiff”), by and through his undersigned counsel, for his

Complaint against defendant The Sterling Group of The Twin Tiers, Inc. (“Defendant”) states and

alleges as follows:

                                        INTRODUCTION

       1.       This action seeks to recover damages for copyright infringement under the

Copyright Act, 17 U.S.C §101 et seq.

       2.       Plaintiff created a photograph of a dog on a scale (the “Photograph”) in which

Plaintiff owns the rights and licenses for various uses including online and print publications.

       3.       Defendant owns and operates a website at domain emlabradors.com (the

“Website”).

       4.       Defendant, without permission or authorization from Plaintiff, actively copied and

displayed the Photograph on the Website and engaged in this misconduct knowingly and in

violation of the United States copyright laws.

                                            PARTIES

       5.       Plaintiff Nick Vedros is an individual who is a citizen of the State of Missouri and

maintains a principal place of business in Platte County, Missouri.



                                                 1
        Case 4:24-cv-02183-MWB              Document 1      Filed 12/18/24      Page 2 of 7




        6.     Upon information and belief, defendant The Sterling Group of The Twin Tiers, Inc.,

is a Pennsylvania corporation with a principal place of business at 890 Old Post Lane, Columbia

Cross Roads in Bradford County, Pennsylvania.

                                   JURISDICTION AND VENUE

        7.     This Court has subject matter jurisdiction over the federal copyright infringement

claims pursuant to 28 U.S.C. §1338(a) and 28 U.S.C. §1331.

        8.     This Court has personal jurisdiction over Defendant because it maintains its

principal place of business in Pennsylvania.

        9.     Venue is proper under 28 U.S.C. §1391(b)(2) because Defendant does business in

this Judicial District and/or because a substantial part of the events or omissions giving rise to the

claim occurred in this Judicial District.
                             FACTS COMMON TO ALL CLAIMS

A.      Plaintiff's Copyright Ownership

        10.    Plaintiff is a professional photographer by trade who is the legal and rightful owner

of certain photographs which Plaintiff commercially licenses.

        11.    Plaintiff has invested significant time and money in building Plaintiff's photograph

portfolio.

        12.    Plaintiff has obtained active and valid copyright registrations from the United States

Copyright Office (the “USCO”) which cover many of Plaintiff's photographs while many others

are the subject of pending copyright applications.

        13.    Plaintiff's photographs are original, creative works in which Plaintiff owns

protectable copyright interests.

        14.    On October 15, 2007, Plaintiff first published the Photograph. A copy of the

Photograph is attached hereto as Exhibit 1.

        15.    In creating the Photograph, Plaintiff personally selected the subject matter, timing,

lighting, angle, perspective, depth, lens, and camera equipment used to capture the image and made

each and every artistic determination necessary for the creation of the work.


                                                  2
        Case 4:24-cv-02183-MWB              Document 1       Filed 12/18/24      Page 3 of 7




       16.        On April 22, 2014, the Photograph was registered by the USCO under Registration

No. VA 1-913-439.

       17.        Plaintiff created the Photograph with the intention of it being used commercially

and for the purpose of display and/or public distribution.

B.     Defendant's Infringing Activity

       18.        Defendant is the registered owner of the Website and is responsible for its content.

       19.        Defendant is the operator of the Website and is responsible for its content.

       20.        The Website is a key component of Defendant's popular and lucrative commercial

enterprise.

       21.        Upon information and belief, Defendant has not implemented adequate internal

policies to verify copyright ownership before content use, indicating a gross negligence in legal

compliance, which is essential for a company with Defendant's reach, capabilities, and level of

sophistication.

       22.        Upon information and belief, Defendant's internal policies, if any, are either not

designed to verify copyright ownership before content use or are systematically ignored, indicating

a willful, recurring disregard for copyright compliance.

       23.        Defendant's failure to adopt or effectively enforce internal copyright policies, if

any, indicates de facto willful infringement.

       24.        On or about October 4, 2016, without permission or authorization from Plaintiff,

Defendant volitionally copied and displayed Defendant displayed the Photograph on the Website

as part of an on-line story at URL: https://emlabradors.com/2016/02/a-breeders-note-on-canine-

obesity/. A copy of a screengrab of the Website including the Photograph is attached hereto as

Exhibit 2.

       25.        Plaintiff first observed the Infringement on July 2, 2024.

       26.        Upon information and belief, the Photograph was copied and displayed by

Defendant without license or permission, thereby infringing on Plaintiff's copyrights in and to the

Photograph (hereinafter the unauthorized use set forth above is referred to as the “Infringement”).


                                                   3
        Case 4:24-cv-02183-MWB           Document 1        Filed 12/18/24     Page 4 of 7




       27.      The Infringement includes a URL (“Uniform Resource Locator”) for a fixed

tangible medium of expression that was sufficiently permanent or stable to permit it to be

communicated for a period of more than a transitory duration and therefore constitutes a specific

infringement.

       28.      The Infringement is an exact copy of Plaintiff's original image that was directly

copied and displayed by Defendant on the Website.

       29.      Upon information and belief, Defendant takes an active and pervasive role in the

content posted on its Website, including, but not limited to copying, posting, selecting,

commenting on, and/or displaying images including but not limited to Plaintiff's Photograph.

       30.      Upon information and belief, the Photograph was willfully and volitionally posted

to the Website by Defendant.

       31.      Upon information and belief, Defendant was aware of facts or circumstances from

which the determination regarding the Infringement was apparent. Defendant cannot claim that it

was not aware of the infringing activities, including the specific Infringement which forms the

basis of this complaint, since such a claim would amount to only willful blindness to the

Infringement on the part of Defendant.

       32.      Upon information and belief, Defendant engaged in the Infringement knowingly

and in violation of applicable United States copyright laws.

       33.      Upon information and belief, Defendant has the legal right and ability to control

and limit the infringing activities on its Website and exercised and/or had the right and ability to

exercise such right.

       34.      Upon information and belief, Defendant monitors the content on its Website.

       35.      Upon information and belief, Defendant has received a financial benefit directly

attributable to the Infringement.

       36.      Upon information and belief, the Infringement increased traffic to the Website and,

in turn, caused Defendant to realize an increase in its business revenue.

       37.      Upon information and belief, a large number of people have viewed the unlawful


                                                 4
        Case 4:24-cv-02183-MWB               Document 1       Filed 12/18/24       Page 5 of 7




copy of the Photograph on the Website.

        38.       Upon information and belief, Defendant at all times had the ability to stop the

reproduction and display of Plaintiff's copyrighted material.

        39.       Defendant's use of the Photograph harmed the actual market for the Photograph.

        40.       Defendant's use of the Photograph, if widespread, would harm Plaintiff's potential

market for the Photograph.

        41.       On July 25, 2024, Plaintiff, via counsel, served a letter seeking to address the

complaints contained herein concerning Defendant's infringement of Plaintiff's rights-protected

work.

        42.       On August 26, 2024, Plaintiff, via counsel, served a second letter seeking to address

the complaints contained herein concerning Defendant's infringement of Plaintiff's rights-

protected work.

        43.       Despite Plaintiff's efforts and willingness to address Defendant's infringing activity,

Defendant failed to respond, and Plaintiff was forced to seek judicial intervention for Defendant's

infringing activity.

        44.       Further, despite Plaintiff's notification to Defendant concerning its infringing

activity, Defendant continues to infringe on Plaintiff's work thereby establishing the willful nature

of its conduct.

        45.       As a result of Defendant's misconduct, Plaintiff has been substantially harmed.

                                          FIRST COUNT
                       (Direct Copyright Infringement, 17 U.S.C. §501 et seq.)
        46.       Plaintiff repeats and incorporates by reference the allegations contained in the

preceding paragraphs, as though set forth in full herein.

        47.       The Photograph is an original, creative work in which Plaintiff owns a valid

copyright.

        48.       The Photograph is properly registered with the USCO and Plaintiff has complied

with all statutory formalities under the Copyright Act and under regulations published by the



                                                    5
         Case 4:24-cv-02183-MWB            Document 1        Filed 12/18/24       Page 6 of 7




USCO.

         49.    Plaintiff has not granted Defendant a license or the right to use the Photograph in

any manner, nor has Plaintiff assigned any of its exclusive rights in the copyright to Defendant.

         50.    Without permission or authorization from Plaintiff and in willful violation of

Plaintiff's rights under 17 U.S.C. §106, Defendant improperly and illegally copied, reproduced,

distributed, adapted, and/or publicly displayed works copyrighted by Plaintiff thereby violating

one of Plaintiff's exclusive rights in its copyrights.

         51.    Defendant's reproduction of the Photograph and display of the Photograph

constitutes willful copyright infringement.

         52.    Upon information and belief, Defendant willfully infringed upon Plaintiff's

copyrighted Photograph in violation of Title 17 of the U.S. Code, in that Defendant used,

published, communicated, posted, publicized, and otherwise held out to the public for commercial

benefit, Plaintiff's original and unique Photograph without Plaintiff's consent or authority, by using

it on the Website.

         53.    As a result of Defendant's violations of Title 17 of the U.S. Code, Plaintiff is entitled

to an award of actual damages and disgorgement of all of Defendant's profits attributable to the

infringements as provided by 17 U.S.C. § 504 in an amount to be proven or, in the alternative, at

Plaintiff's election, an award for statutory damages against Defendant for each infringement

pursuant to 17 U.S.C. § 504(c).

         54.    As a result of the Defendant's violations of Title 17 of the U.S. Code, the court in

its discretion may allow the recovery of full costs as well as reasonable attorney's fees and costs

pursuant to 17 U.S.C. § 505 from Defendant.

         55.    As a result of Defendant's violations of Title 17 of the U.S. Code, Plaintiff is entitled

to injunctive relief to prevent or restrain infringement of Plaintiff's copyright pursuant to 17 U.S.C.

§ 502.

                                          JURY DEMAND

         56.    Plaintiff hereby demands a trial of this action by jury.


                                                   6
        Case 4:24-cv-02183-MWB           Document 1        Filed 12/18/24      Page 7 of 7




                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests judgment as follows:

        That the Court enters a judgment finding that Defendant has infringed on Plaintiff's rights

to the Photograph in violation of 17 U.S.C. §501 et seq. and therefore award damages and monetary

relief as follows:

                a.     finding that Defendant infringed Plaintiff's copyright interest in and to the

                       Photograph by copying and displaying it without a license or consent;

                b.     for an award of actual damages and disgorgement of all of Defendant's

                       profits attributable to the infringements as provided by 17 U.S.C. § 504(b)

                       in an amount to be proven or, in the alternative, at Plaintiff's election, an

                       award for statutory damages against Defendant for each infringement

                       pursuant to 17 U.S.C. § 504(c), whichever is larger;

                c.     for an order pursuant to 17 U.S.C. § 502(a) enjoining Defendant from any

                       infringing use of any of Plaintiff's works;

                d.     for costs of litigation and reasonable attorney's fees against Defendant

                       pursuant to 17 U.S.C. § 505

                e.     for pre-judgment interest as permitted by law; and

                f.     for any other relief the Court deems just and proper.

DATED: December 18, 2024

                                              SANDERS LAW GROUP

                                              By:     /s/ Renee Aragona
                                              Renee Aragona, Esq. (PA Bar No. 325520)
                                              333 Earle Ovington Blvd, Suite 402
                                              Uniondale, NY 11553
                                              Tel: (516) 203-7600
                                              Email: raragona@sanderslaw.group
                                              File No.: 130468

                                              Attorneys for Plaintiff



                                                 7
